Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                                Document     Page 1 of 17



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


   In re:                                    Chapter 7

   Suzlon Wind Energy Corp.,                 Bankruptcy No. 21-07923

                           Debtor.           Honorable Jacqueline P. Cox


            COVER SHEET FOR FIRST INTERIM APPLICATION OF
               FACTORLAW FOR COMPENSATION AND
                    REIMBURSEMENT OF EXPENSES

  Name of Applicant:                  Law Offices of William J. Factor, Ltd.

  Authorized to Provide               Ariane Holtschlag, Chapter 7 Trustee for the
  Professional Services to:           estate of Suzlon Wind Energy Corp.

  Period for Which                    June 30, 2021 – April 30, 2022
  Compensation is Sought:

  Amount of Fees Sought:              $55,907.50

  Amount of Expense                   $3,682.68
  Reimbursement Sought:

  This is a:                          First Application

       The aggregate amount of fees and expenses paid to the Applicant to
  date for services rendered and expenses incurred herein is: $0.00.


  Dated: May 18, 2022                        THE LAW OFFICES OF
                                                 WILLIAM J. FACTOR, LTD.

                                             By: /s/ Justin R. Storer




       {00213067 2}
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                                Document     Page 2 of 17



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


   In re:                                    Chapter 7

   Suzlon Wind Energy Corp.,                 Bankruptcy No. 21-07923

                           Debtor.           Honorable Jacqueline P. Cox


                          NOTICE OF APPLICATION
        Please take notice that on Tuesday, June 14, 2022, at 1:00 p.m.
  or as soon thereafter as counsel may be heard, the undersigned attorneys
  shall appear before the Honorable Jacqueline P. Cox, or any judge sitting in
  his place and stead, and shall then and there present FactorLaw’s First
  Interim Application for Compensation and Reimbursement of
  Expenses, a copy of which is attached hereto and herewith served upon
  you.
        This motion will be presented and heard electronically using Zoom for
  Government. No personal appearance in court is necessary or permitted. To
  appear and be heard on the motion, you must do the following:
        To appear by video, use this link: https://www.zoomgov.com/. Then
  enter the meeting ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-
  5252 or 1-646-828-7666. Then enter the meeting ID and password.

       Meeting ID and password. The meeting ID for this hearing is 161
  273 2896 and the password is 778135. The meeting ID and password can also
  be found on the judge’s page on the court’s web site.

       If you object to this motion and want it called on the
  presentment date above, you must file a Notice of Objection no
  later than two (2) business days before that date. If a Notice of
  Objection is timely filed, the motion will be called on the
  presentment date. If no Notice of Objection is timely filed, the
  court may grant the motion in advance without a hearing.

  Dated: May 18, 2022                        FactorLaw

                                             By: /s/ Justin R. Storer
                                             One of its attorneys


       {00213067 2}                            2
Case 21-07923        Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03   Desc Main
                               Document     Page 3 of 17



  William J. Factor (6205675)
  Justin R. Storer (6293889)
  FACTORLAW
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      {00213067 2}                            3
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03   Desc Main
                                Document     Page 4 of 17



                               CERTIFICATE OF SERVICE

       I, Justin R. Storer, an attorney, hereby certify that on May 18, 2022,
  pursuant to Section II.B.4 of the Administrative Procedures for the Case
  Management/Electronic Case Filing System and Fed.R.Civ.P. 5(a), I caused
  a copy of the foregoing Notice of Application and the accompanying First
  Interim Application for Compensation and Reimbursement of Expenses to
  be served electronically through the Court’s Electronic Notice for
  Registrants on all persons identified as Registrants on the Service List
  below and by US Mail on all persons identified on the attached service list.

                                                   /s/ Justin R. Storer
  Registrants
  (Service via ECF)
  Kenneth W Bach                       kennethb@johnsonblumberg.com
  Roger S Cox                          roger.cox@uwlaw.com
  Timothy R Herman                     therman@clarkhill.com
  Ariane Holtschlag                    aholtschlag@wfactorlaw.com
  Nicholas W Laird                     nick.laird@bfkn.com
  Gerald B. Lurie                      glurie@chenlaw-firm.com
  Nathan Q. Rugg                       Nathan.Rugg@bfkn.com
  David J Schwab                       djschwab@rsslawoffices.com
  Gregory K Stern                      greg@gregstern.com


  Non-registrants in the Case
  (Service via first-class mail)

  Ian Landsberg
  SKLAR KIRSH, LLP
  1880 Century Park East, Suite 300
  Los Angeles, California 90067

  See attached service list.




       {00213067 2}                            4
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                                Document     Page 5 of 17



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


   In re:                                    Chapter 7

   Suzlon Wind Energy Corp.,                 Bankruptcy No. 21-07923

                           Debtor.           Honorable Jacqueline P. Cox

             FACTORLAW’S FIRST INITERIM APPLICATION FOR
            COMPENSATION AND REIMBURSEMENT OF EXPENSES

       Justin Storer, and the Law Office of William J. Factor, Ltd.,
  (collectively “FactorLaw”), counsel for Ariane Holtschlag, not individually
  but as the chapter 7 trustee (the “Trustee”) of the bankruptcy estate (the
  “Estate”) of Suzlon Wind Energy Corp., (the “Debtor”), hereby submits
  their first interim application (the “Application”) pursuant to 11 U.S.C.
  §§ 330, 331 and 507(a)(1) seeking compensation of $55,907.50 for legal
  services performed by FactorLaw during the period of June 30, 2021
  through April 30, 2022 (the “Application Period”) and $3,682.68 in
  expenses incurred in connection with those services. In support of its
  Application, FactorLaw states as follows:

                                     JURISDICTION

       1.     This Court has jurisdiction over this motion pursuant to 28
  U.S.C. §§ 157 and 1334, and Local Rule 40.3.1(a) of the United States
  District Court for the Northern District of Illinois.

       2.     Venue of the above-captioned case (the “Case”) and of this
  motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
       3.     This matter is a core proceeding within the meaning of 28 U.S.C.
  §§ 157(b)(1) and (b)(2)(A).




       {00213067 2}                            5
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                                Document     Page 6 of 17



                                    BACKGROUND

  The Bankruptcy Case.

       4.     On June 29, 2021 (the “Petition Date”), the Debtor filed a
  voluntary petition for relief under Chapter 7 of title 11, United States Code
  (11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”)), in the United States
  Bankruptcy Court for the Northern District of Illinois, Eastern Division
  commencing the above referenced case (the “Case”).
       5.     Ariane Holtschlag was appointed as the interim trustee in the
  Case pursuant 11 U.S.C. § 701 and now serves as the permanent trustee in
  the Case. The Trustee is duly qualified and has all the powers of a trustee
  under, among other provisions, 11 U.S.C. § 704.
       6.     The Court approved the Trustee’s retention of FactorLaw on July
  20, 2021, retroactive to June 30, 2021.
       7.     During the application period, the Trustee has focused her
  efforts primarily, through not exclusively, on realizing value for the
  bankruptcy estate by liquidating the contents of a warehouse in Elgin,
  Illinois and a horse barn in Texas County, Oklahoma, selling the contents
  of the Debtor’s Chicago, Illinois office to its now-former landlord, resolving
  postpetition administrative claims, and commencing limited collection of
  the Debtor’s receivables.

  Auction of the Elgin Warehouse

       8.     On July 20, 2021, this Court entered the Trustee’s proposed
  order authorizing the employment of Tom Mowery, and the professionals at
  Health Auction d/b/a American Auction, as the trustee’s auctioneer.

       9.     On August 10, 2021, this Court entered the Trustee’s proposed
  order granting in part, and continuing in part, her request for authority to
  sell, pursuant to 11 U.S.C. 363(b) and (f), substantially all estate property.




       {00213067 2}                            6
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03     Desc Main
                                Document     Page 7 of 17



       10.    This request was continued in part because objections were
  raised by two entities that held unscheduled property of the bankruptcy
  estate. After collaboration, a further order was entered on August 24, 2021,
  concluding the request to sell estate property.
       11.    The contents of the Elgin warehouse were auctioned from the
  17th through the 19th of August, 2021, online. The auction recovered
  $670,591.96, net of expenses, for the estate.
       12.    Contemporaneously, the trustee negotiated a reduction in the
  priority administrative claim of the Elgin Warehouse’s landlord, Northwest
  Logistics Park Portfolio Investors, LLC, providing, generally, that if the
  Trustee were to quit the Elgin Warehouse premises in “broom-clean”
  condition, on or before September 10, 2021, that the estate would be
  entitled to a 75% reduction in that landlord’s postpetition administrative
  claim. The order authorizing the trustee to enter into this settlement was
  entered by the Court on September 8, 2021, by which time the premises
  were already “broom-clean.”

  The Office Premises

       13.     Suzlon Wind Energy Corp. maintained office space in 8750 W.
  Bryn Mawr Avenue, Chicago, Illinois, part of an office park known as
  Triangle Plaza.
       14.    Its base rent, from the petition date to the rejection of its lease,
  was $23,787.96 per month.
       15.    The Trustee negotiated a settlement with the Triangle Plaza
  landlord providing that they would waive their postpetition administrative
  claim (but retain a security interest in the security deposit and two wind
  turbine blades that had been pledged as collateral pursuant to an earlier
  amendment to the lease), and that they would buy the existing furniture in
  the office premises, for $25,000.00. The order authorizing the Trustee to
  enter into this settlement was entered by this Court on August 10, 2021.



       {00213067 2}                            7
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03   Desc Main
                                Document     Page 8 of 17



  Ancillary matters

       16.    Additionally, the Trustee’s auctioneer has conducted an auction
  of estate property located at Texas County, Oklahoma and, after payment
  of fees and expenses, generated a material recovery for the estate.
       17.    The Trustee is collaborating with professionals from JP Morgan
  Chase Bank, N.A., concerning the turnover of approximately $50,000 that
  they are holding, subsequent to the efficient setoff of their (secured) claims.
       18.    The Trustee has obtained $14,023.19 in unscheduled funds from
  the Illinois Treasurer’s registry of unclaimed funds. The Trustee’s counsel
  has reviewed the Treasurer’s webpages of several other states and has
  ascertained that the estate is entitled to small – and again, unscheduled –
  recoveries from these other states; the Trustee’s counsel has further
  determined that the Debtor, as of the petition date, was the holder of at
  least one unscheduled proof of claim in another bankruptcy case, In re
  Consolidated Estate of Axis Crane LLC and Metro Machinery Rigging Inc.,
  case 19-61549 in the United States Bankruptcy Court for the District of
  Oregon. The Trustee is undertaking recovery of all such claims.
       19.    The Debtor’s schedules indicate that the Debtor was entitled to
  receive approximately $450,000.00 (face amount) in receivables, as of the
  petition date. The Trustee has secured a backup of all of the Debtor’s
  electronic records, and the Trustee’s counsel is obtaining access to “SAP,”
  an accounting program used by the Debtor’s parent company which will
  provide an efficient synthesis of these records. The Debtor’s statement of
  financial affairs, furthermore, reflects various significant prepetition
  transfers of property, which the Trustee intends to recover in compliance
  with the Bankruptcy Code and other applicable law.




       {00213067 2}                            8
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                                Document     Page 9 of 17



                                   FEE APPLICATION

  Services performed.

       20.    FactorLaw maintains contemporaneous written records of the
  time expended by its professionals.
       21.    Such records for the Case, copies of which are grouped and
  attached hereto as Exhibit 1, set forth in detail: (a) the services rendered
  by FactorLaw (the “Services”) on behalf of the Trustee, (b) the dates upon
  which such Services were rendered; (c) the amount of time spent on the
  Services; and (d) the professionals who performed the Services.

     A. Summary of Services by professional.
       22.    FactorLaw spent a total of 167.90 hours at a cost of $55,907.50 in
  connection with this Case during the Application Period.
       23.    A breakdown of the professionals providing Services is as follows.
  (While she was performing the Services referenced in this application,
  Katherine McDermott was a clerk for FactorLaw; however, she has been
  sworn-in to the Illinois Bar, and presently serves as an attorney with a new
  billable rate of $250 per hour.)

                                                Hourly     Total
        Professional                Title        Rate      Hours          Value

   William J. Factor            Principal          $400         3.3    $1,320.00

   Isaiah Fishman               Partner            $375       37.8    $14,175.00

   Jeffrey Paulsen              Partner            $400         1.4       $560.00

   Justin Storer                Partner            $375       97.3    $36,412.50

   Katherine McDermott Clerk                       $150         8.7    $1,305.00

   Sam Rodgers                  Paralegal          $125         7.8       $975.00

   Danielle Ranallo             Legal Asst.        $100       11.6     $1,160.00



       {00213067 2}                            9
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                               Document      Page 10 of 17



                                                Hourly     Total
        Professional                 Title       Rate      Hours          Value

                                                Totals:      167.9 $55,907.50

     B. Itemization of fees by category of Services rendered.
       24.    Case Administration. FactorLaw spent a total of 18.7 hours at
  a cost of $6,140.00 on matters relating to case administration.
       25.    A breakdown of the professionals providing Services in this
  category is as follows:

                                                Hourly      Total
       Professional                 Title        Rate       Hours         Value

   Justin Storer               Partner              $375      15.5      $5,812.50

   Danielle Ranallo            Legal Asst.          $100        2.9          $290

   Sam Rodgers                 Paralegal            $125           .3      $37.50

                                                 Totals:      18.7      $6,140.00

       26.    Asset Analysis and Recovery. FactorLaw spent a total of 46.1
  hours at a cost of $15,197.50 on matters relating to asset analysis and
  recovery.

       27.    A breakdown of the professionals providing Services in this
  category is as follows:

                                              Hourly       Total
       Professional                Title       Rate        Hours          Value

   William Factor              Partner              $400        1.9          $760

   Jeffrey Paulsen             Partner              $400           .6        $240

   Isaiah Fishman              Partner              $375      12.2         $4,575

   Justin Storer               Partner              $375        23         $8,625



       {00213067 2}                            10
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                               Document      Page 11 of 17



                                              Hourly       Total
       Professional                Title       Rate        Hours          Value

   Samuel Rodgers              Paralegal            $125         6.3      $787.50

                                                Totals:         46.1 $15,197.50

       28.    Claim Investigation. FactorLaw spent a total of 8 hours at a
  cost of $2,945.00 on matters relating to claim investigation.

       29.    A breakdown of the professionals providing Services in this
  category is as follows:

                                               Hourly      Total
       Professional                Title        Rate       Hours          Value

   Justin Storer               Partner              $375         7.8       $2,925

   Danielle Ranallo            Legal Asst.          $100           .2         $20

                                                Totals:            8    $2,945.00

       30.    Asset Disposition. FactorLaw spent a total of 19.8 hours at a
  cost of $6,962.50 on matters relating to asset disposition.

       31.    A breakdown of the professionals providing Services in this
  category is as follows:

                                               Hourly      Total
       Professional                Title        Rate       Hours          Value

   William Factor              Principal            $400           .1         $40

   Justin Storer               Partner              $375        17.9    $6,712.50

   Danielle Ranallo            Legal Asst.          $100           .6         $60

   Samuel Rodgers              Paralegal            $125         1.2         $150

                                                Totals:         19.8    $6,962.50




       {00213067 2}                            11
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                               Document      Page 12 of 17



       32.    Fee/Employment Applications. FactorLaw spent a total of 14
  hours at a cost of $4,152.50 on matters relating to fee and employment
  applications.
       33.    A breakdown of the professionals providing Services in this
  category is as follows:

                                               Hourly      Total
       Professional                Title        Rate       Hours          Value

   William Factor              Partner              $400           .1         $40

   Isaiah Fishman              Partner              $375           .2         $75

   Justin Storer               Partner              $375        9.7     $3,637.50

   Danielle Ranallo            Legal Asst.          $100           4         $400

                                                Totals:         14      $4,152.50

       34.    Avoidance Action Analysis. FactorLaw spent a total of 8.7
  hours at a cost of $1,305.00 on matters relating to the analysis of avoidance
  actions.
       35.    A breakdown of the professionals providing Services in this
  category is as follows:

                                               Hourly      Total
       Professional                Title        Rate       Hours          Value

   Katherine                   Clerk                $150        8.7        $1,305
   McDermott

                                                Totals:         8.7        $1,305

       36.    Assumption/Rejection of Leases and Contracts. FactorLaw
  spent a total of 47.1 hours at a cost of $17,260.00 on matters relating to the
  assumption or rejection of leases and contracts, including the settlement
  efforts with various parties referenced above.



       {00213067 2}                            12
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                               Document      Page 13 of 17



       37.    A breakdown of the professionals providing Services in this
  category is as follows:

                                               Hourly      Total
       Professional                Title        Rate       Hours          Value

   William Factor              Partner              $400        1.2          $480

   Isaiah Fishman              Partner              $375      24.1      $9,037.50

   Justin Storer               Partner              $375      20.5      $7,612.50

   Danielle Ranallo            Legal Asst.          $100        1.3          $130

                                                Totals:       47.1        $17,260

       38.    Claims Administration and Objections. FactorLaw spent a
  total of 5.5 hours at a cost of $1,945.00 on matters relating to claims
  administration and objections.

       39.    A breakdown of the professionals providing Services in this
  category is as follows:

                                               Hourly      Total
       Professional                Title        Rate       Hours          Value

   Jeffrey Paulsen             Partner              $400           .8        $320

   Isaiah Fishman              Partner              $375        1.3       $487.50

   Justin Storer               Partner              $375        2.9     $1,087.50

   Danielle Ranallo            Legal Asst.          $100           .5             50

                                                Totals:         5.5     $1,945.00

  Expenses

       40.    FactorLaw incurred $3,682.68 in actual and necessary expenses
  related to this Case. A copy of the expense record is attached hereto as
  Exhibit 2.


       {00213067 2}                            13
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03   Desc Main
                               Document      Page 14 of 17



          41.    FactorLaw does not bill its clients or seek compensation in
  this Application for its overhead expenses. The expenses listed above are
  actual out of pocket costs advanced by FactorLaw.

  FactorLaw’s retention was appropriate through the Application Period

          42.    During the Application Period, no agreement or
  understanding exists between FactorLaw and any other person for the
  sharing of compensation received or to be received in connection with this
  Case.

          43.    No compensation has been promised to FactorLaw other than
  as disclosed or approved by this Court. FactorLaw certifies that there is no
  agreement between the firm and any other party regarding the sharing of
  fees except with the firm’s partners, nor has the firm discussed or
  negotiated the amount of its fees with any party except the Trustee.
          44.    Finally, FactorLaw represents that it is and was through the
  Application Period a disinterested party and does not hold any relationship
  adverse to the Estate.

                          BASIS FOR THE REQUESTED RELIEF
          45.     Under Section 330(a)(1)(A), the Court may award a
  professional person “reasonable compensation for actual, necessary services
  rendered[.]” 11 U.S.C. § 330(a)(1)(A). Section 330(a) further provides:
        In determining the amount of reasonable compensation to be
        awarded, the court shall consider the nature, the extent, and
        the value of such services, taking into account all relevant
        factors, including—(A) the time spent on such services; (B) the
        rates charged for such services; (C) whether the services were
        necessary to the administration of, or beneficial at the time at
        which the service was rendered toward the completion of, a case
        under [the Bankruptcy Code]; (D) whether the services were
        performed within a reasonable amount of time commensurate
        with the complexity, importance, and nature of the problem,
        issue, or task addressed; and (E) whether the compensation is
        reasonable, based on the customary compensation charged by



       {00213067 2}                            14
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03    Desc Main
                               Document      Page 15 of 17



         comparably skilled practitioners in cases other than cases
         under this title.

  Id. § 330(a)(3).
         46.     In determining the “extent and value of compensation,” the
  Seventh Circuit endorses the “‘lodestar’ approach—multiplying the number
  of actual and necessary hours reasonably expended by a reasonable hourly
  rate[.]” In re Wildman, 72 B.R. 700, 712 (Bankr. N.D. Ill. 1987)
  (Schmetterer, J.); accord In re UNR Indus., 986 F.2d 207, 210-11 (7th Cir.
  1993) (lodestar approach provides fair compensation under Section 330); see
  also City of Burlington v. Dague, 505 U.S. 557, 562 (1992) (“The ‘lodestar’
  figure has, as its name suggests, become the guiding light of our fee-
  shifting jurisprudence. We have established a ‘strong presumption’ that the
  lodestar represents the ‘reasonable’ fee[.]”).

         47.     The Seventh Circuit has mandated that an “attorney’s actual
  billing rate … is considered to be the presumptive market rate.” Small, 264
  F.3d at 707. Moreover, “[t]he lawyer’s regular rate is strongly presumed to
  be the market rate for his or his services.” Moriarty v. Svec, 233 F.3d 955,
  965 (7th Cir. 2000) (emphasis added), cert. denied, 532 U.S. 1066 (2001).
         48.     Additionally, under generally accepted standards, if the
  services of an attorney employed under Section 327 are reasonably likely to
  benefit the estate, they should be compensable. See Andrews & Kurth LLP
  v. Family Snacks, Inc. (In re Pro-Snax Distributors, Inc.),157 F.3d 414, 421
  (5th Cir. 1998); In re Ames Dep’t Stores, Inc., 76 F.3d 66, 71 (2d Cir. 1996);
  2 Lawrence P. King, Collier on Bankruptcy ¶ 330.04 at 330-43 (15th ed.
  rev. 1999); cf. 11 U.S.C. § 330(a)(4)(A)(ii)(I). In this same context,
  “[n]ecessary services are those that aid the professional’s client in fulfilling
  its duties under the Code.” In re Ben Franklin Retail Store, Inc., 227 B.R.
  268, 270 (Bankr. N.D. Ill. 1998) (Barliant, J.).
       49.     The average hourly billing rate for the professionals who
  performed the Services at the time they were performed—that is, the



       {00213067 2}                            15
Case 21-07923         Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03      Desc Main
                               Document      Page 16 of 17



  “lodestar” rate— is $287.50. This average rate is fair and reasonable in
  light of the services provided and the experience of FactorLaw’s
  professionals. Moreover, the compensation requested by the FactorLaw is
  reasonable based upon the customary compensation charged by comparably
  skilled practitioners in either non-bankruptcy or bankruptcy cases.

                          NOTICE AND NO PRIOR REQUEST
       50.    Pursuant to Rule 2002 of the Federal Rules of Bankruptcy
  Procedure, twenty-one days’ notice of this motion has been given to: (i) the
  Office of the United States Trustee; (ii) the Debtor; (iii) the Debtor’s
  counsel; (iv) all scheduled creditors; and (v) any person that has requested
  notice in the case or that receives notices through the ECF System with
  respect to the Case.
       51.    No previous fee applications have been submitted by FactorLaw
  and FactorLaw has not received any funds prior to this fee application to
  compensate it for its services to the Estate. This is thus FactorLaw’s first
  interim fee application.

                                     CONCLUSION

     WHEREFORE, FactorLaw respectfully requests that this Court enter
  an Order:
     A. Allowing FactorLaw compensation for actual, necessary legal
        services in the amount of $55,907.50;
     B. Authorizing reimbursement of FactorLaw for actual and necessary
        expenses in the amount of $3,682.68;
     C. Authorizing the Trustee to pay FactorLaw the allowed compensation
        and reimbursement of expenses in the total amount of $59,590.18;
        and
     D. Granting such other relief as the Court deems just and equitable.




       {00213067 2}                            16
Case 21-07923        Doc 84   Filed 05/18/22 Entered 05/18/22 12:52:03   Desc Main
                              Document      Page 17 of 17



  Dated: May 18, 2022                        FactorLaw

                                             By: /s/ Justin R. Storer
                                             One of Its attorneys

  William J. Factor (6205675)
  Ariane Holtschlag (6294327)
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  105 W. Madison, Suite 1500
  Chicago, IL 60602
  Tel:   (312) 373-7226
  Fax:   (847) 574-8233
  Email: jstorer@wfactorlaw.com




      {00213067 2}                            17
